       Case 19-23492-SLM           Doc 48     Filed 01/06/20 Entered 01/06/20 17:28:06           Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  In Re:
   James A. Gilmartin
                                                                Case No.:      ___________________________
                                                                                      19-23492-SLM

                                                                Chapter:       ___________________________
                                                                                            13

                                                                Judge:         ___________________________
                                                                                         Meisel



                           NOTICE OF FAILURE TO FILE SUPPLEMENTAL
                             DOCUMENTS CONCERNING SCHEDULES


TO: __________________________________
     Jonathan Stone


This will confirm that on __________________________
                                  01/03/2020         the following document(s) was filed by you.
        ☐         Amendment to Schedule(s) _______________________________________________,
                                            A/B, D, E/F, I and J

        ☐         Missing Documents, including Schedule(s) __________________________________,


This will further confirm that the court has not received the following supplemental documents:

        ☐         Declaration About an Individual Debtor’s Schedules (106 Declaration)
        ☐         An updated Summary of Your Assets and Liabilities and Certain Statistical Information
                  (106 Summary) [Schedules A/B, D, E/F, I and J ONLY]



        ☐         Declaration Under Penalty of Perjury for Non-Individual Debtors (202 Declaration)
        ☐         An updated Summary of Assets and Liabilities for Non-Individuals (206 Summary)
                  [Schedules A/B, D and E/F ONLY]


You are hereby notified that the document(s) indicated above must be filed within 7 days from the date
of this notice.


        Dated: ________________________
               01/06/2020                                      Jeanne A. Naughton, Clerk


                                                                                                      rev.1/4/17
